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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE


ALICIA M. PEDREIRA, et al.                                                          PLAINTIFF


v.                                                                            3:00-CV-210-CRS


SUNRISE CHILDREN’S SERVICES, INC., et al.                                       DEFENDANTS




                         MEMORANDUM OPINION AND ORDER



       This matter is before the court on motion of the defendant, Sunrise Children’s Services,

Inc. f/k/a Kentucky Baptist Homes for Children, Inc. (“Sunrise”), for reconsideration of the

court’s December 22, 2016 Memorandum Opinion and Order. DN 573. Defendants Vicki Yates

Brown Glisson, Secretary of the Cabinet for Health and Family Services, and John Tilley,

Secretary of the Justice and Public Safety Cabinet (collectively, the “Commonwealth

Defendants”) join in the motion. DN 577.

       The action was remanded to this court by the United States Court of Appeals for the Sixth

Circuit. The Court of Appeals returned the case for the explicit purpose of having this court

decide whether the agreement reached between the plaintiffs and the Commonwealth to settle the

case, an agreement which it found was a consent decree, was fair, reasonable and consistent with

the public interest. The Court of Appeals added the further directive that the court consider its

observation that “the consent decree denie[d] Sunrise a chance to clear its name,” and

“impose[d] the very reputational harm that Sunrise sought to avoid by means of 15 years of
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litigation.”   Pedreira v. Sunrise Children’s Services, Inc., 802 F.3d 865, 872 (6th Cir.

2015((“Pedreira II”).

        Within a week after the denial of the plaintiffs’ motion for rehearing en banc by the Sixth

Circuit, the parties entered into a First Amendment to Settlement Agreement (hereinafter “the

Amendment”). The parties attempted to address the Court of Appeals’ concern that the

Settlement Agreement “single[d] out Sunrise by name for special monitoring by the ACLU and

Americans United,” Id. Sunrise was the sole objector to the Settlement Agreement at that time.

        In the Amendment’s “Recitals,” the parties stated, in part, that:

        C. In light of this potential concern, the Parties desire to amend the Settlement
        Agreement to eliminate any “singl[ing] out” of or potential reputational harm to
        Sunrise by uniformly applying the same monitoring triggers and rules to all
        Agencies, as set forth in this Amendment.

        D. Further, in light of objections raised by Sunrise during briefing concerning the
        Settlement Agreement, the Parties desire to clarify that no new or modified
        administrative regulations need to be enacted to comply with the Settlement
        Agreement.

In the Amendment’s “Agreement” section, the parties agreed, in pertinent part, to:

Section 1. Modification of Section 3.

        [Section 3 is deleted and replaced with new language which we do not recite
        here].

Section 2. Approval of Settlement Agreement, as Amended; Dismissal of Lawsuit.

        [The parties agree to file a joint motion seeking the court’s approval of the
        Amendment, dismissal of the action with prejudice, incorporation of the
        Amendment into the order of dismissal, retention by the court of jurisdiction to
        enforce the order, and to otherwise cooperate as necessary to obtain relief].


Section 3. No regulatory changes needed. Notwithstanding any references in the
       Settlement Agreement to possible enactment of new or modified administrative
       regulations, the Parties agree that the Commonwealth Defendants do not need to
       enact or modify any administrative regulations to comply with the Settlement
       Agreement.


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       [Section 6(b) remains in the text of the Settlement Agreement, as amended, which
       requires the Commonwealth to initiate the process of modifying any
       administrative regulations necessary for the Commonwealth to comply with the
       terms of the Settlement Agreement].

Section 4. No Effect Upon Other Terms of Settlement Agreement. Except as explicitly
       stated in this Amendment, all terms of the Settlement Agreement shall remain in
       full force and effect, and the Parties shall continue to comply with the Settlement
       Agreement, as amended herein, including during the pendency of any further
       proceedings in, or relating to dismissal of, the Lawsuit.

       [Apparently, to date, the Commonwealth continues to comply with the terms of
       the original Settlement Agreement].

       A change in administration in Kentucky upon the election of Governor Matthew G. Bevin

yielded a change in approach to the settlement of this action. The Commonwealth no longer

supports the agreement forged with the plaintiffs. Faced with the refusal of the Commonwealth

to join in a motion seeking approval of the amended agreement, the plaintiffs moved unilaterally

for voluntary dismissal of the action with prejudice and approval of the Settlement Agreement,

as amended, as a consent decree. DN 552. This motion, in and of itself, is a bit of an oxymoron,

as it seeks entry of a consent decree to which only the plaintiffs consent at this time. Sunrise

and the Commonwealth each filed objections to the plaintiffs’ motion.         In any event, the

plaintiffs seek to hold the Commonwealth to the terms of the Settlement Agreement, as amended,

and have urged the court to reject the defendants’ many arguments in opposition to approval.

       In an opinion entered in December, the court determined that the Settlement Agreement,

as amended, remains a viable proposed consent decree in the case. The court intended to address

a number of the defendants’ arguments raised in opposition to the plaintiffs’ motion for approval

under the rubric of “fairness, reasonableness, and consistency with the public interest” at a

hearing.   However, concerned that the court had disregarded some of its arguments, and

dissatisfied with a number of the court’s findings, Sunrise filed a motion to reconsider the


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December memorandum opinion and order. DN 573. Not unexpectedly, the plaintiffs opposed

Sunrise’s motion. DN 576.

           Additionally, the Commonwealth filed a response to Sunrise’s motion, joining in support

and adopting in toto the arguments made by Sunrise in its motion to for reconsideration. DN

577.       Counsel for the Cabinets, Justin D. Clark, signed the pleading on behalf of the

Commonwealth. He is counsel of record by virtue of his entry of appearance on behalf of both

Cabinets. DN 562. M. Steve Pitt and Chad Meredith, counsel from the Office of the Governor,

are now also counsel of record for the Cabinets by virtue of the listing of their names as attorneys

on this pleading. Local Rule 83.5(d).1

           The Cabinets are now amply represented and purport to fully align themselves with the

positions taken by Sunrise in this case. This alignment with Sunrise is diametrically opposed to

the Commonwealth’s previous position throughout the life of the Settlement Agreement and the

Amendment.

           The Court has determined that former counsel for the Cabinets, Mona Womack, had the

authority to bind the Commonwealth to the Amendment and that the agreement in its original

form is no longer operative, as it has been superseded by the Amendment.

           The court rejected the defendants’ argument that the Settlement Agreement, as amended,

is unenforceable for lack of consent. The court reasoned that the Commonwealth’s entry into the

Amendment after the Court of Appeals recited the reasons why the agreement was, in fact, a

consent decree (even though the agreement itself declared otherwise) established that the

Commonwealth thereby knowingly agreed to entry of a consent decree. Further support for this

conclusion is the inclusion of Section 2 of the Amendment listing the relief sought from the court



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    The Governor of Kentucky is not a party to this action.

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– this list itemizes the very terms which the Court of Appeals found were defining features of a

consent decree.

       This court has determined that the Court of Appeals did not vacate the original Settlement

Agreement. Rather, the Court of Appeals required this court to afford the agreement more

intensive scrutiny on remand.

       We have concluded that consideration by this court of the Settlement Agreement, as

amended, is not beyond the mandate of the Court of Appeals. We reached this conclusion for no

less than four reasons. First, the Amendment created a new agreement, superseding the original.

Thus the court is not foreclosed from considering it, as a lower court may consider any matter

left open by a mandate. Second, the Court of Appeals apparently contemplated the possibility of

a settlement not focused on Sunrise, stating that “A decree that did not, directly or indirectly,

single out Sunrise in this manner would stand on different ground than the decree as it comes to

us here.” Therefore consideration of the Settlement Agreement, as amended, would not be at

odds with the Court of Appeals’ decision. Third, the acknowledged right of Sunrise to be heard

on the matter of fairness did not entitle Sunrise to participate in the drafting of the Amendment.

Fourth, in keeping with the process for evaluating a consent decree, as set forth in Williams v.

Vukovich, 720 F.2d 909 (6th Cir. 1983), the court must inform the parties of any concerns with a

proposed consent decree and give them an opportunity to reach a reasonable accommodation.

Therefore, the parties’ proactive agreement to amend seemingly problematic terms in advance of

this court’s review does not appear to be improper.

       The defendants urge two errors in the court’s December decision, and seek a ruling on

two issues not addressed therein.




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        The defendants take issue with the court’s statement in a footnote that “Section 12 of the

original Settlement Agreement remains as the only section to mention Sunrise: ‘Section 12. No

admission of liability…’” DN 572, p. 4, n. 7. This footnote supplements the text of the opinion

discussing the Amendment’s “alteration to the agreement as originally written with respect to the

treatment of Sunrise.” DN 572, p. 4 [emphasis added]. This “treatment” is, of course, the

“singl[ing] out [of] Sunrise by name for special monitoring by the ACLU and Americans

United…” which the Court of Appeals suggested denied Sunrise a chance to clear its name and

imposed reputational harm on Sunrise with respect to alleged unconstitutional activities which

have never been proven. Id. The Court of Appeals’ concern about “singling out” Sunrise for

special monitoring was apparently an implication of liability which might be drawn from being

singled out by name for individualized treatment. This court noted that, in response to that

concern, “Section 3 was deleted entirely and replaced with provisions which do not mention

Sunrise…” Id. In the interest of completeness on this point, the court then quoted in footnote

Section 12 of the agreement which expressly denies the allegations against Sunrise, and notes

that the claims against Sunrise are contested and unproven. Section 12 was in the original

agreement and remains in the Settlement Agreement, as amended.

       The defendants note that Sunrise’s name also appears twice in the “Recitals,” four times

in Section 7, and twice in Section 11 of the original Settlement Agreement, and five times in the

Amendment, urging that “the notion that Sunrise has been purged from the putative ‘consent’

decree is patently wrong.” DN 573-1, p. 4, n. 2. Purging is not the point, however. The singling

out of Sunrise for special monitoring is the point. The Court of Appeals said nothing, nor did

we, about cleansing the agreement of all references to Sunrise. That is, as Sunrise itself admits,

impossible, as the very reason for the agreement (as with virtually all settlements) is the



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resolution of as-yet unproven claims. This is precisely what is stated in Section 12. The Court of

Appeals suggested that the singling out of Sunrise by name for special monitoring yielded an

implication of wrongdoing, not because its name was mentioned, but rather because it was

singled out and targeted for special treatment. Sections 3 and 12 of the Settlement Agreement, as

amended, are at the heart of this issue.2 The references to Sunrise in the Recitals identify the

caption and subject of the lawsuit. The references to Sunrise in Section 7 relate to the release of

all claims and covenant not to sue. The references in Section 11 direct the return of documents.

The references to Sunrise in the “Recitals” section of the Amendment are in the context of

describing the Court of Appeals’ “singling out” concern and the parties’ desire to alleviate it.

         The defendants take issue with the court’s statement in the December opinion that “the

only change to the agreement made by the Amendment” was the deletion of the original Section

3 and replacement of it with new text which was set out in full in the Amendment. DN 572, p. 4.

The court’s statement is correct.

         Sunrise suggests that the agreement was “changed” with respect to the other child-caring

agencies that contract with the Commonwealth because new Section 3 imposes “far wider and

harsher terms on all agencies.” Indeed, Sunrise made this same argument in its initial objections

to the plaintiffs’ motion. This argument, however, is one of implication. The “change” of which

the defendants speak is an outcome they suggest is borne of language embodied within the text

of new Section 3. The court acknowledged that the new text was a rewrite of the section in its

entirety.    This argument concerning the implications of rewritten Section 3 would be a matter

for a fairness hearing, to the extent the defendants could establish standing to challenge the


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  Sunrise is free to argue that the mere mention of its name numerous times in the agreement is sufficient to taint its
reputation. Such a suggestion would be proper argument in a fairness hearing addressing the Settlement Agreement,
as amended. However, this argument differs from the “singling out” concern identified by the Court of Appeals
which was directed at the particularized treatment of Sunrise in the original agreement.

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fairness of this provision to other agencies. Other agencies affected by this provision will be

afforded an opportunity to address their concerns, if any, to the court if the matter proceeds to a

fairness hearing.

       In a similar vein, the defendants claim that Section 3 of the Amendment in which the

parties state that no regulatory changes are necessary to implement the agreement “effectively

excise[s] Section 6(b) of the Agreement – yet another significant change overlooked by [this

Court’s December] Opinion.” DN 573-1, p. 6. Section 3 of the Amendment does not change to

the agreement. Section 6(b) of the original Settlement Agreement remains as written. Rather,

Section 3 of the Amendment purports to confirm the parties’ agreement that, despite the

language of Section 6(b) requiring the Commonwealth to begin the administrative process to

amend regulations necessary for implementation of the agreement, no such amendments are, in

fact, necessary for implementation. Both Sunrise and the Commonwealth take issue with the

legality of this decision not to pursue regulatory changes. The court will address this point later

herein. With respect to the objection to our December opinion, however, the Amendment does

not “change” Section 6(b) of the original agreement as the defendants suggest. Instead, the

Amendment signals the Commonwealth’s intended action, or lack thereof, with respect to the

provision.

       The defendants urge that any enforcement of the Amendment by this court would

contravene Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375 (1994) on the ground

that after this court’s earlier dismissal, this court lacks jurisdiction to enforce the Settlement

Agreement, as amended. The court finds this argument to be without merit.

       This court regained jurisdiction over the case upon issuance of the mandate by the Sixth

Circuit. Nina Shahin v. PNC Bank NA, No. 16-3952, 2017 WL 838270 (3d Cir. March 3, 2017),



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quoting United States v. Rivera, 844 F.2d 916, 921 (2d Cir. 1988) and Arenson v. S. Univ. Law

Ctr., 963 F.2d 88, 90 (5th Cir. 1992). Consideration by this court of the Settlement Agreement, as

amended, has already been determined by this court not to exceed the mandate of the Sixth

Circuit. Kokkonen, then, has no application here, as issuance of the mandate by the Sixth Circuit

and its directive on remand reestablished this court’s jurisdiction to proceed.

       The defendants emphasize that the Amendment was entered into by the parties prior to

issuance of the mandate before the court regained jurisdiction. We find no infirmity there. The

court has already found that the parties were free to enter into a new agreement. We find nothing

about the timing of the Amendment that impacts the jurisdiction of this court.

       Finally, the defendants contend that Lorain NAACP v. Lorain Board of Education, 979

F.2d 1141, 1153 (6th Cir. 1992) precludes this court from enforcing the Settlement Agreement, as

amended, without first finding a constitutional violation.       The facts underlying Lorain are

distinguishable from the case at bar. In Lorain, a consent decree imposing institutional reform

had been approved and was being monitored by the court. The court later determined, over

objection, that it was appropriate to increase the maximum liability of the Ohio Department of

Education under the decree. The Sixth Circuit held that “a district court may not, in the name of

modification, circumvent the express terms of a defendant party’s consent in the absence of an

adjudicated or admitted violation of law. In the absence of an adjudication or admission of

constitutional violation, the district court’s authority to impose additional obligations on a

defendant is constrained by the terms of agreement entered by the parties to the consent decree.”

Lorain, 979 F.2d at 1153.

       The principle announced in Lorain has no application to the case at bar. Here, the court

is not seeking to modify an existing consent decree. We have been asked to review for fairness,



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 reasonableness, and consistency with the public interest the agreed terms of a proposed consent

 decree. The fact that the Commonwealth now seeks to withdraw its consent and objects to its

 approval does not bring this matter under the principles of Lorain.

         With joinder by the Commonwealth in the objections to the motion for approval of the

 Settlement Agreement, as amended, the court is now faced squarely with a threshold issue:

 whether the Commonwealth may withdraw because performance of the agreement, as written,

 would be illegal. The Commonwealth took the opposite position in opposing Sunrise’s challenge

 earlier in the case that the original agreement was void for failure to promulgate appropriate

 regulations. It urged at that time that Sunrise had no standing to raise the argument, and that

 Kentucky regulations already existed which encompassed the terms of the settlement. DN 521,

 pp. 13-17. With respect to the newly-minted Settlement Agreement, as amended, the plaintiffs

 state that “[Section 3] of the Amendment simply reduces to writing what the Plaintiffs and the

 Commonwealth Defendants had previously reported to the Court,” and what the court had

 already accepted. DN 576. The problem with this response is that we have a new agreement

 before us which the court has not yet considered under the consent decree regime. The original

 agreement has been superseded. The court must review this agreement as a consent decree

 which, as a threshold matter, must be shown to be legal. The Commonwealth unequivocally

 states that

         The original Settlement Agreement expressly contemplated amended regulations,
         a process that would have required ordinary procedural due process protections.
         The Court’s initial approval of the Settlement Agreement endorsed these
         protections. Plaintiffs now seek to gain through a truncated, involuntary consent
         decree what they cannot rightly achieve through Kentucky’s legislature or
         executive branch agencies. Commonwealth Defendants, however, cannot agree to
         do something in a consent decree that would be unlawful under state law.


 DN 577, p. 2.


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           While we reject the suggestion that this is an “involuntary” proposed consent decree for

 the reasons stated in the December opinion, we do appreciate the fact that this court may not

 approve a consent decree which is illegal and, therefore, contrary to the public interest.

 Vukovich, 720 F.2d at 925. Courts have found that a mere change of heart by a party is an

 insufficient ground to reject a consent decree, but illegality is another matter. While a consent

 decree, as a matter of contract, may be binding upon the parties, it is not binding upon the court.

 The court being charged with finding fairness, reasonableness and consistency with the public

 interest before placing its judicial imprimatur on a consent decree, we must reject an agreement

 whose performance would be illegal. Stovall v. City of Cocoa, Florida, 117 F.3d 1238, 1242

 (11th Cir. 1997); Reynolds v. Roberts, 251 F.3d 1350, 1358 (11th Cir. 2001); Vukovich, 720 F.2d

 at 925.

           Sunrise’s reply brief (DN 378), in which the Commonwealth joins, discusses in detail at

 pages 4-11 the grounds for its argument that the Settlement Agreement, as amended, illegally

 circumvents modifications to regulations which are required for implementation of the

 agreement.3 As this additional detail was provided in reply, the court has not been favored with

 a response by the plaintiffs. The Commonwealth defendants also weighed in on this issue after

 the plaintiffs’ response. DN 577, pp. 2-4.

           Therefore, IT IS HEREBY ORDERED AND ADJUDGED that the motions of the

 defendants, Sunrise Children’s Services, Inc., et al., for reconsideration of the court’s December

 22, 2016 Memorandum Opinion and Order (DNs 573, 577) is GRANTED. The court DENIES

 IN ALL RESPECTS THE REQUEST TO VACATE THE DECEMBER 22, 2016


 3
  It is no argument that the changes have already been implemented, without regulatory amendment, under the
 original agreement. The Settlement Agreement was a valid private settlement until the Court of Appeals ruled
 otherwise. As the original agreement has been superseded by the Settlement Agreement, as amended, the court must
 address this issue as presently raised in addressing the motion for approval of the agreement.

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 MEMORANDUM OPINION AND ORDER WITH THE EXCEPTION OF THE

 QUESTION AS TO THE LEGALITY OF THE IMPLEMENTATION OF THE

 SETTLEMENT AGREEMENT, AS AMENDED, WITHOUT MODIFICATION OF

 EXISTING REGULATIONS. THIS EXCEPTED ISSUE IS HELD IN ABEYANCE

 PENDING FURTHER BRIEFING AS FOLLOWS:

       (1) The plaintiffs, Alicia Pedreira, et al., shall file a response to the arguments set forth

           in pages 4-11 of DN 578, Sunrise’s Reply, and pages 2-4 of DN 577, the

           Commonwealth’s Response, no later than thirty (30) days from the date of entry

           of this order.

       (2) The defendants, Sunrise Children’s Services, Inc. and Vicki Yates Brown Glisson,

           Secretary of the Cabinet for Health and Family Services, and John Tilly, Secretary of

           the Justice and Public Safety Cabinet, shall file replies no later than thirty (30) days

           from the date of service of the plaintiffs’ response.

       (3) Upon the expiration of the briefing period, this issue shall stand submitted to the court

           for decision.

       This Memorandum Opinion and Order supplements the Court’s December 22, 2016

 Memorandum Opinion and Order and should be read in conjunction therewith.



 IT IS SO ORDERED.

                       March 16, 2017
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